Case 3:12-cv-00660-DRH-SCW Document 926 Filed 08/28/18 Page 1 of 14 Page ID #39622



                           IN THE UNITED STATES DISTRICT COURT
                         FOR THE SOUTHERN DISTRICT OF ILLINOIS

       MARK HALE, TODD SHADLE and
       LAURIE LOGER, on behalf of themselves
       and all others similarly situated,
                                                        Case No. 12-cv-00660-DRH-SCW
                                   Plaintiffs,
                                                        Judge David R. Herndon
             v.                                         Magistrate Judge Stephen C. Williams

       STATE FARM MUTUAL AUTOMOBILE
       INSURANCE COMPANY, EDWARD
       MURNANE, and WILLIAM G.
       SHEPHERD,

                                   Defendants.


       DEFENDANT STATE FARM MUTUAL AUTOMOBILE INSURANCE COMPANY’S
       MOTION TO EXCLUDE PLAINTIFFS’ PROPOSED TELEPHONE EVIDENCE AND
                          MEMORANDUM IN SUPPORT


            Pursuant to Federal Rules of Civil Procedure 26(a)(2)(D)(ii) and 37(c) and Federal Rules

   of Evidence 401-03, 902, and 1006, Defendant State Farm Mutual Automobile Insurance

   Company (“State Farm”) hereby moves to strike and exclude the report and testimony of Cydni

   Arterbury (“Arterbury”) and Luke Chung (“Chung”), submitted with Plaintiffs’ Amended FRE

   902(11) Notice of Intent to Offer Records and Certification Pursuant to FRE 902(13) and FRE

   1006. The Notice of Intent, served less than two weeks before trial,1 was followed the next day

   (August 22) by a late afternoon delivery of a USB drive containing the 40,583 documents allegedly

   supporting the Notice, and amended again at the final hours just before this filing. The bulk of the

   forty thousand pages are copies of records subpoenaed from Verizon and AT&T (the “Phone

   Company Records”) and logs produced from State Farm’s Avaya phone system (the “Avaya Phone



   1
    As State Farm was in the process of finalizing this motion, Plaintiffs served an Amended
   Notice at 3:30 PM on August 28, 2018.
                                                    1
Case 3:12-cv-00660-DRH-SCW Document 926 Filed 08/28/18 Page 2 of 14 Page ID #39623



   Logs”). However, two critical and improper Declarations (from Arterbury and Chung) were

   sandwiched in their midst. Each Declaration seeks to improperly self-authenticate proffered

   “summaries” under Federal Rule of Evidence 1006 and attempts to skirt Seventh Circuit precedent

   that requires the summaries accurately reflect admissible information in the underlying

   voluminous records. In support of its Motion, State Farm submits the following memorandum of

   law.

            I.   INTRODUCTION

             Under a plain application of the Rules of Evidence, the summaries proffered by Arterbury

   and Chung must be excluded from evidence. The Chung Declaration (supporting the ultimate

   “summaries” that Plaintiffs seek to introduce) reflect that he is effectively an undisclosed expert,

   who used his specialized knowledge and skill to create the reports being offered as summaries.

   Yet the time for expert disclosures has long passed. Chung’s method and resulting documents

   have not been subject to the scrutiny required by Federal Rule of Civil Procedure 26(a)(2), which

   mandate the timely disclosure, discovery, and adequate opportunity to cross examine such expert

   analysis, nor have they been subjected to argument or analysis under Federal Rule of Evidence

   702 or Daubert challenge, which his declaration certainly would have provoked. Moreover, both

   the Arterbury and Chung submissions fail faithfully or accurately to reflect the contents (and no

   more) of the underlying records as required by Rule 1006. The submissions also fail to satisfy the

   necessary requisites for self-authentication under Rule 902.        The submissions are clearly

   inadmissible and would deeply prejudicial if allowed into evidence at this late stage on the eve of

   trial.




                                                    2
Case 3:12-cv-00660-DRH-SCW Document 926 Filed 08/28/18 Page 3 of 14 Page ID #39624



        II.   PLAINTIFFS’ PROPOSED RULE 1006 SUMMARIES SHOULD BE
              EXCLUDED BECAUSE THEY DO NOT MEET THE BASIC
              REQUIREMENTS OF RULE 1006

          Federal Rule of Evidence 1006 is clear and straightforward: a summary, chart, or

   calculation can be used to prove the contents of admissible writings, recordings, or photographs

   that are too voluminous to be examined in court. FED. R. EVID. 1006. Importantly, however, the

   proponent of any such summaries, charts, or calculations admitted under Rule 1006 must

   “demonstrate that the underlying records are accurate and would be admissible as evidence”

   because “[the Rule] is not an end around to introducing evidence that would otherwise be

   inadmissible.” United States v. Oros, 578 F.3d 703, 708 (7th Cir. 2009) (citing Judson Atkinson

   Candies, Inc. v. Latini–Hohberger Dhimantec, 529 F.3d 371, 382 (7th Cir. 2008)); see also White

   v. Hefel, 875 F.3d 350, 356 (7th Cir. 2017).

       A. Chung’s Submission Is Essentially an Expert Report That Was Not Timely
          Disclosed, Does Not Provide the Requisite Foundation for Admissible Expert
          Testimony, and Must be Excluded

          The Chung Declaration supports a report (Exhibit C to the Chung Declaration, the “Chung

   Report”) that contains pages and pages of graphs and output that merge four distinct sets of

   documents: two sets of Phone Company Records, the Avaya Phone Logs, and the Arterbury Report

   in order to create a report of phone numbers called that both attributes calls to specific individuals,

   and presents a visualized matrix of alleged communications between specific individuals.2 This

   information does not exist in any one document (or series of similar documents), but instead

   requires a complex method to tie together multiple data points across the various records in order

   to create the outputs. To achieve this product, Chung applied his proprietary “queries and



   2
    Chung’s Report includes spreadsheets that contain ten (10) data points, six (6) of which do not
   appear on the Phone Company Records or Avaya Phone Logs: “Consolidated From,”
   “Consolidated To,” “Original From,” “Original To,” “Source From,” and “Source To”.
                                                     3
Case 3:12-cv-00660-DRH-SCW Document 926 Filed 08/28/18 Page 4 of 14 Page ID #39625



   programming code [] run to create a list of phone calls between the provided names.” (Chung

   Decl. ¶ 8.) This is plainly the work of a purported expert and far beyond the bounds permitted by

   Rule 1006. Moreover, the key link required for Chung’s analysis, the Arterbury Report, which

   purports to connect names with phone numbers, contains critical errors that undercut any expert

   analysis.

          Chung’s work goes far beyond that of a mere summary of underlying admissible evidence

   of the type typically allowed under Rule 1006 and instead constitutes expert witness testimony.

   The mere fact that Plaintiffs hired Chung to use a specialized tool in order to analyze the telephone

   data indicates that his work requires specialized technical or other knowledge within the scope of

   Federal Rule of Evidence 702.         Chung’s Declaration even describes the specific expertise

   developed by his company (FMS) to “create[] an analytic tool that visualizes links between data,

   analyzes those links, and creates timelines for large amounts of data.” (Chung Dec. ¶ 4.) He refers

   to a “routine” that “was used to consolidate the call records into a consistent format” and a “set of

   queries and programming code [] run to create a list of phone calls between the provided names,”

   and asserts that his “process of consolidating, querying, and generating the results is automated

   and repeatable.” (Id. ¶ 8.) That is expert testimony.

          At a threshold level, Chung’s Report is inadmissible as an expert report because it is not

   timely, has not been fully disclosed or tested, and Plaintiffs have not sought to qualify Chung as

   an expert. Salgado by Salgado v. Gen. Motors Corp., 150 F.3d 735, 742 (7th Cir. 1998) (exclusion

   of improperly disclosed expert testimony under Rule 37(c) “is automatic and mandatory unless the

   sanctioned party can show that its violation . . . was either justified or harmless.”) (citing Finley v.

   Marathon Oil Co., 75 F.3d 1225, 1230 (7th Cir. 1996)). The timing of Plaintiffs’ notice and

   submission cannot be reasonably explained. The Scheduling Order clearly established that

   Plaintiffs’ experts had to be disclosed by September 22, 2017 ([605] at 1), yet Plaintiffs did not

                                                      4
Case 3:12-cv-00660-DRH-SCW Document 926 Filed 08/28/18 Page 5 of 14 Page ID #39626



   even supply Defendants with Chung’s Report until August 22, 2018. Chung executed his

   declaration on May 22, 2018 – three months ago – yet Plaintiffs waited until the week before trial

   to disclose it. The undue and severe prejudice imposed on State Farm by this last-minute ambush

   with undisclosed expert evidence cannot be ignored.

           Even if the Chung Report had been timely disclosed it would still be inadmissible because

   it has not been shown to be based upon sufficient facts or data, or the product of reliable principles

   and methods, and there has been no opportunity to test whether Chung has applied the principles

   and methods reliably to the facts of the case. FED. R. EVID. 702. The Chung Declaration discloses

   nothing about the methodology encapsulated in Chung’s proprietary software or the principles

   underlying his analysis to demonstrate that it is reliable. Instead, he merely lists various data inputs

   and summarily states that he ran “queries and programming code.” (Chung Decl. ¶ 8.) This ipse

   dixit is patently insufficient.

           In addition, Plaintiffs have not submitted the requisite information regarding Chung’s

   specific “knowledge, skill, experience, training, or education” to qualify him as an expert. Cf.

   FED. R. EVID. 702. For all of these reasons, Chung has not been qualified as an expert and his

   Report must be excluded from evidence pursuant to Rule 702.

       B. The Report Attached to Arterbury’s Declaration Relies on Inadmissible Evidence
          and Contains Inaccuracies That Render the Resulting Summaries Misleading and
          Unfairly Prejudicial.

           The Arterbury Declaration was amended by Arterbury on August 24, 2018, and served on

   State Farm four days later on August 28, 2018. Arterbury’s Amended Declaration changes her

   testimony about the the steps taken to create Exhibit A. In her first declaration, Arterbury swore

   that “A telephone number and identity list was created by several individuals from the documents

   produced during discovery …” which she then “confirmed.” (Original Arterbury Dec., ¶ 4.)

   Arterbury now also swears that “Plaintiffs’ counsel created a list of key individuals” who “were

                                                      5
Case 3:12-cv-00660-DRH-SCW Document 926 Filed 08/28/18 Page 6 of 14 Page ID #39627



   involved in the campaign” and she was the one who “took the list of individuals” and “connect[ed]

   the key individuals with particular phone numbers.” (Amended Arterbury Declaration, ¶¶ 2-3.)

   Arterbury now swears that she did this by determining the “identity of individuals for the phone

   numbers using the Bate[s]-stamped documents produced in discovery by Defendants.” (Id. ¶ 3.)

   But that is demonstrably untrue – many of the “source” documents she lists were produced by

   third-parties, as reflected by their Bates stamp, and at least one, WOJO 1521-1522 (for “USCC

   Media (Landline)”) is an unauthenticated document produced by Plaintiffs themselves through

   their investigator. These errors are rife throughout Arterbury’s Report.

          Her report should also be excluded because it violates Rule 1006 of the Federal Rules of

   Evidence. “Rule 1006 ‘requires a party seeking to introduce a summary of voluminous records to

   provide copies of those records to the opposing party at a reasonable time and place.’ . . . A

   reasonable time and place ‘has been understood to be such that the opposing party has adequate

   time to examine the records to check the accuracy of the summary.’” United States v. Isaacs, 593

   F.3d 517, 527 (7th Cir. 2010) (quoting United States v. Rangel, 350 F.3d 648, 651 (7th Cir. 2003)).

   The report purports to correlate 228 phone numbers with 18 “Consolidated Names” from over 80

   sources. (Amended Arterbury Decl., Ex. F.) Assuming the report was created at the same time as

   Arterbury’s original Declaration, which was also signed on May 22, 2018, Plaintiffs had this report

   for three months and only disclosed it last week, days before the parties are about to pick a jury.

   State Farm does not have “adequate time to examine the records to check the accuracy of the

   summary.”

          Even in the few days State Farm has had the report, it has discovered significant

   inaccuracies and misleading information that further undermine its presentation as a Rule 1006

   summary. For example, lines 139-40 represents that a phone number was the landline at Justice

   Karmeier’s Office, but that number is for the Office of the Circuit Clerk for Washington County.

                                                   6
Case 3:12-cv-00660-DRH-SCW Document 926 Filed 08/28/18 Page 7 of 14 Page ID #39628



   See http://washingtoncountycircuitclerk.com. That is a critical distinction. Plaintiffs attempt to

   use this data to link State Farm and Justice Karmeier. In fact, it does nothing of the sort. There

   are a plethora of reasons why State Farm would call the Clerk’s office. Further, Line 131 states a

   certain phone number was a landline for the Illinois Coalition for Jobs, Growth and Prosperity, but

   that number belongs to the Illinois Manufacturers Association, which is not alleged to be part of

   the supposed RICO conspiracy. See http://ima-net.org/contact. Lines 4 and 6 refer to Murnane

   44364 as the source for two phone numbers for Al Adomite, but Mr. Adomite is not mentioned

   anywhere in that chart by an unknown author. Line 47 identifies a number as belonging to the

   CEO Class Action Task Force, but the source, HALEM 25549, is a press release from a completely

   different organization, the Class Action Fairness Coalition. The necessary work required to

   examine each of the numbers, verify the source and correct the rampant inaccuracies is self-

   evident.

          Moreover, the report states that the phone numbers were supposedly linked to people and

   organizations based on numerous hearsay documents produced in discovery. “Before a summary

   is admitted, the proponent must lay a proper foundation as to the admissibility of the material that

   is summarized . . . .” Judson Atkinson, 529 F.3d at 382 (quoting Needham v. White Labs, Inc., 639

   F.2d 394, 403 (7th Cir.1981)); see also Oros, 578 F.3d at 708; AMPAT/Midwest, Inc. v. Ill. Tool

   Works Inc., 896 F.2d 1035, 1045 (7th Cir. 1990) (“[I]nadmissible documents are not made

   admissible by being summarized.”). The report also contains embedded argument, in the column

   titled “Consolidated Name,” without any source or explanation for why various individuals are

   identified as “consolidated” with different organizations. As just one example, Dr. Jerald Bratberg

   is identified in line 28 as part of the “Karmeier Consolidated Campaign” even though it is

   undisputed he was never on Justice Karmeier’s campaign, but instead merely organized a

   fundraiser for the Justice.

                                                    7
Case 3:12-cv-00660-DRH-SCW Document 926 Filed 08/28/18 Page 8 of 14 Page ID #39629



          For all of these reasons, the report attached to Arterbury’s Declaration should be excluded

   from evidence in this matter.

       C. Plaintiffs’ Proffered Summaries Improperly Suggest or Include Information that is
          Not Reflected in the Evidence that is Allegedly Being Summarized

          It is axiomatic that a Rule 1006 summary cannot exceed or embellish the contents of the

   underlying evidence. See FED. R. EVID. 1006; see also Oros, 578 F.3d at 708. Yet this is exactly

   what the Chung Report and the Arterbury Report (collectively “Reports”) seek to do.

          Critically, the Reports introduce data elements and information not contained in the

   documents purportedly summarized. As noted above, Chung’s Report includes spreadsheets that

   contain ten (10) data points, six (6) of which are not reflected in the underlying evidence. See n.1,

   supra. Similarly, Arterbury’s Report creates “groupings” of phone numbers and attributed names

   that are not found in any of the underlying documents, but are the result of her work product, along

   with argument about whether various individuals are “consolidated” with organizations alleged to

   be part of the claimed RICO conspiracy. The Seventh Circuit has emphasized that “[b]ecause a

   Rule 1006 exhibit is supposed to substitute for the voluminous documents themselves … the

   exhibit must . . . not misrepresent their contents or make arguments about the inferences the jury

   should draw from them.” United States v. White, 737 F.3d 1121, 1135 (7th Cir. 2013). That is

   just what these reports attempt to do.

          Moreover, State Farm has repeatedly disclosed to Plaintiffs the known and inherent

   limitations of regarding its Avaya Phone Logs.3 By design, State Farm’s historic private branch

   exchange system did not record transfers within the State Farm phone system (e.g., a transfer from



   3
     Beginning in March 2015, and at multiple meet and confer conferences with Plaintiffs and
   discovery hearings with the Court regarding the Avaya Phone Logs that occurred thereafter, State
   Farm made it clear that the logs are limited to fewer than ten (10) fields that provide the time and
   date that an outside line connected to the State Farm phone system, the original State Farm number
   the outside line connected to, and the duration the outside line was connected to State Farm.
                                                    8
Case 3:12-cv-00660-DRH-SCW Document 926 Filed 08/28/18 Page 9 of 14 Page ID #39630



   an administrative assistant to an executive) and may double-count external transfers (e.g., if a State

   Farm employee set call forwarding to transfer calls made to an internal number to an external

   number, the system would make two records). These inherent limitations preclude one from

   concluding, based upon the Avaya Phone Logs alone, that an outside line connected to State Farm

   a certain number of times, or that an outside line was connected to any specific State Farm number

   for the duration of the connection. Rather, one must consider that once an outside line connected

   to any specific State Farm number, the outside line could then be connected to any other State

   Farm number(s) without ever being disconnected, and the Avaya Phone Logs would record the

   entire duration of the connection, as State Farm did not track its internal transfers. State Farm also

   repeatedly explained that even assuming an outside line connected to a State Farm number for the

   entire duration shown on the Avaya Phone Logs, that information does nothing to establish the

   identity of any participants on either end of the call, nor the topic of discussion.

          These limitations are not accounted for in either of the reports submitted by Plaintiffs, and

   thus those reports assume facts that cannot be proven by the underlying evidence. Considered by

   themselves, the Avaya Phone Logs have no tendency to make the assertion that any particular

   individual at State Farm spoke to anyone outside the company “more probable or less probable

   than it would be without the evidence.” As such, the Plaintiffs’ proposed use of the underlying

   data fails the Rule 401 relevance gatekeeping and thus the Rule 1006 summaries likewise fail and

   must be excluded.4



   4
    Importantly, the Business Records exception to the hearsay rule (Fed. R. Evid. 803(6)) cannot be
   used in this circumstance to bridge the evidentiary gap by means of a crutch for the Rule 1006
   summary. First, the Avaya Phone Logs simply were not designed to, nor did they record the point-
   to-point certainty that Plaintiffs seek to assert. As such, even if Plaintiffs laid a proper foundation
   for business records admissibility, the Avaya Phone Logs cannot be used to prove something they
   never recorded. Second, Plaintiffs would also need to introduce via testimony under Fed. R. Evid.
   901(b)(9) that the process of creating the summary was accurate, which again is squarely undercut

                                                     9
Case 3:12-cv-00660-DRH-SCW Document 926 Filed 08/28/18 Page 10 of 14 Page ID
                                 #39631


        As proffered, the submissions from Arterbury and Chung assume an unsubstantiated

 association between the phone numbers listed on the Avaya Phone Logs and substantive

 communications between specific individuals that the underlying evidence does not support. The

 bar charts in Chung’s Report are even more misleading, because they show only the weeks in

 which calls occurred, and skip weeks if not months in between calls. Allowing Plaintiffs to use

 these submissions to “gap fill” and suggest an association not present in the underlying documents

 would be extraordinarily prejudicial to State Farm.          As such, the jury could easily but

 inappropriately infer from the Reports that the underlying documents substantiate the known

 routing destination of calls within State Farm or show other conduct not otherwise proven. This

 skewed presentation is clearly prejudicial and should not be allowed.

     III.   PLAINTIFFS’ PROPOSED RULE 1006 SUMMARIES SHOULD BE
            EXCLUDED BECAUSE PLAINTIFFS HAVE FAILED TO PROVIDE THE
            NECESSARY AUTHENTICATION FOR THE AVAYA PHONE LOGS, THE
            ARTERBURY REPORT, AND THE CHUNG REPORT

     A. Arterbury’s Report Cannot be Self-Authenticated

        By its nature, the Arterbury Report cannot be self-authenticated under Rule 902(11).5 It

 appears from the Arterbury Declaration that the attached “summary” was created by “several

 individuals from the documents produced during discovery in Hale v. State Farm.” (Arterbury

 Decl. ¶2.) This is fundamentally contrary to Rule 902(11). The Rule requires the proffering party

 to introduce at trial a written declaration by the custodian or other qualified person that the

 document to be authenticated:

        (A) the record [of the occurrence] was made at or near the time by—or from
        information transmitted by—someone with knowledge;


 by the fact that the underlying data never recorded the specific points that Plaintiffs seek to assert
 in the proffered summaries. See Oros, 578 F.3d at 708.
 5
  Exhibit F states that it is offered “pursuant to Illinois Rule of Evidence 902(11),” which State
 Farm assumes was intended to mean Federal Rule of Evidence 902(11).
                                                  10
Case 3:12-cv-00660-DRH-SCW Document 926 Filed 08/28/18 Page 11 of 14 Page ID
                                 #39632


         (B) the record was kept in the course of a regularly conducted activity of a business
         . . . ; [and]
         (C) making the record was the regular practice of that activity.

 FED. R. EVID. 806(6)(A)-(C) (incorporated by reference into FED. R. EVID. 902(11)). While “the

 custodian need not be the individual who ‘personally gather[ed the information memorialized] ...

 in a business record . . . [she] need[s to] be familiar with the company's recordkeeping practices.”

 Thanongsinh v. Bd. of Educ., 462 F.3d 762, 777 (7th Cir. 2006) (citing United States v.

 Jenkins, 345 F.3d 928, 935 (6th Cir. 2003) (Mills, J.) (internal quotation marks and citations

 omitted)). According to the Arterbury Declaration, her report was prepared from documents

 produced in this litigation and Plaintiffs’ counsel’s identification of “relevant individuals who were

 involved in the campaign.” (Amended Arterbury Decl. ¶ 3.) It is well established, though, that

 documents prepared in anticipation of litigation are not admissible under FRE 803(6).” Jordan v.

 Binns, 712 F.3d 1123, 1135 (7th Cir. 2013) (citations omitted).

         Plaintiffs have not laid the proper foundation to self-authenticate the Arterbury Report and,

 therefore, it is not admissible.

 B.      Chung’s Report Cannot be Self-Authenticated

         Chung’s Report similarly does not meet the requirement for self-authentication under

 Federal Rule of Evidence 902. By its nature, the Report falls outside of the constructs of Rule

 902(13) under which it was proffered. Rule 902(13) became effective in December 2017 to permit

 the self-authentication of records generated by “an electronic process or system that produces an

 accurate result, as shown by a certification of a qualified person that complies with the certification

 requirements of Rule 902(11) or (12).” FED. R. EVID. 902(13). Thus, Rule 902(13) was adopted

 to streamline the authentication of records generated by automated process. Cf. FED. R. EVID.

 902(13) advisory committee’s note to 2017 amendment (regarding authentication of a retrieved

 webpage); Carl A. Aveni, New Federal Evidence Rule Changes Reflect Modern World, 43 A.B.A.


                                                   11
Case 3:12-cv-00660-DRH-SCW Document 926 Filed 08/28/18 Page 12 of 14 Page ID
                                 #39633


 LITIG. NEWS 3, at 12 (Spring 2018) (discussing use of the Rule to introduce information from

 social media, if the object is collected in a forensically sound manner). By contrast, the Chung

 Report has been generated by an undisclosed “set of queries,” and “programming code” applied

 by a proprietary database analyzer. Chung nowhere explains the electronic process used or how it

 produces an accurate result, making it impossible to determine whether that process satisfies Rule

 902(13). And Chung’s Report does not and cannot speak to the accuracy of the information set

 forth in the spreadsheets provided to him by different sources, upon which he relies. (Chung Decl.

 at ¶¶ 5-6.) Thus, the Report is inconsistent with the basic building blocks of Rule 902(13).

        Chung’s Declaration also utterly fails to meet the requirements of Rule 902(13) because

 Chung does not certify that the “record” (presumably some or all of pages 40409-575 that comprise

 Exhibit C to Chung’s Declaration) generated by his company’s proprietary process produces “an

 accurate result.” Quite the opposite, he stated that the “process of consolidating, querying, and

 generating the results is automated and repeatable.” (Id. at ¶ 8.) That is not a certification of

 accuracy; rather, it is a statement consistent with an expert report. A process can be automated

 and repeatable, but still inaccurate. If the method underlying the computer program is flawed, it

 may consistently produce an inaccurate result. Yet Defendants and the Court have no way to test

 Chung’s assertions or the accuracy of his report, because the process is unknown.

        The Declaration also fails to establish that Chung is qualified to certify the accuracy of the

 process employed. It does nothing to establish the background, education, training, and expertise

 of the affiant in order to establish that he is a ‘qualified person’ as required by Rule 902(11) and

 (12). Nor has Chung described the “electronic process or system” with enough specificity to

 establish the authenticity of the evidence sought to be admitted.

        Finally, Chung’s Declaration, which was executed on May 22, 2018, fails to comply with

 the Rule 902(11) notice requirement that the adverse party have the record and certification

                                                 12
Case 3:12-cv-00660-DRH-SCW Document 926 Filed 08/28/18 Page 13 of 14 Page ID
                                 #39634


 available for inspection so that the party has a fair opportunity to challenge them. See FED. R.

 EVID. 902(11). Plaintiffs have left Defendants with just days to challenge Chung’s statements,

 the thousands of pages appended to his Declaration, and his undisclosed expert report. That is not

 a fair opportunity.

     IV.    CONCLUSION

        For the foregoing reasons, Plaintiffs’ proposed “Summaries” that are the subject of the

 August 22, 1018 Notice of Intent and its August 28, 2018 Amended Notice should be excluded.


  Dated: August 28, 2018                                            Respectfully submitted,




                                                                    /s/ Ronald S. Safer

  J. Timothy Eaton #0707341     Patrick D. Cloud #06282672          Ronald S. Safer #6186143
  TAFT, STETTINIUS &            HEYL, ROYSTER, VOELKER              RILEY SAFER HOLMES &
  HOLLISTER, LLP                & ALLEN                             CANCILA LLP
  111 East Wacker, Ste. 2800    Mark Twain Plaza III, Suite 100     Three First National Plaza
  Chicago, IL 60601             105 W. Vandalia St.                 70 W. Madison St., Ste. 2900
                                Edwardsville, IL 62025              Chicago, IL 60602


                Attorneys for Defendant State Farm Mutual Automobile Company




                                                13
Case 3:12-cv-00660-DRH-SCW Document 926 Filed 08/28/18 Page 14 of 14 Page ID
                                 #39635


                              CERTIFICATE OF SERVICE

       I hereby certify that a copy of the foregoing Defendant State Farm Mutual Automobile

 Insurance Company’s Motion to Excluded Proposed Telephone Evidence and Memorandum in

 Support was served upon all counsel of record on August 28, 2018, via the Court’s CM/ECF

 system.




 Dated: August 28, 2018                          /s/ Ronald S. Safer




                                            14
